OJS 45 (5/97) - (Revised U.S.D.C. MA 3/25/2011)
                       Case 1:20-cr-10098-WGY Document 1-1 Filed 05/22/20 Page 1 of 2
Criminal Case Cover Sheet                                                           U.S. District Court - District of Massachusetts

Place of Offense:                            Category No.      II                   Investigating Agency       FBI

City       NATICK                                    Related Case Information:

County         MIDDLESEX                             Superseding Ind./ Inf.                        Case No.
                                                     Same Defendant                           New Defendant          X
                                                     Magistrate Judge Case Number            19-MJ-2438 to 2441 (MBB)
                                                     Search Warrant Case Number
                                                     R 20/R 40 from District of

Defendant Information:

Defendant Name           BRIAN GILBERT                                          Juvenile:               G Yes G
                                                                                                              ✔ No

                         Is this person an attorney and/or a member of any state/federal bar:           G   Yes ✔
                                                                                                                G No
Alias Name
Address                  (City & State) SAN JOSE, CA
                      1968 SSN (last4#):________
Birth date (Yr only): _____              1410        M
                                                 Sex _____                       W
                                                                          Race: ___________                       USA
                                                                                                    Nationality: ____________________

Defense Counsel if known:                    MIRANDA KANE, ESQ.                     Address 803 Hearst Avenue

Bar Number                                                                                    BERKELEY, CA 94710

U.S. Attorney Information:

AUSA          SETH B. KOSTO/DAVID J. D'ADDIO                             Bar Number if applicable

Interpreter:              G Yes          ✔ No
                                         G                   List language and/or dialect:

Victims:                  GYes G No If yes, are there multiple crime victims under 18 USC§3771(d)(2)
                          ✔                                                                                    G Yes      ✔ No
                                                                                                                          9

Matter to be SEALED:                    G Yes
                                        ✔           G     No

          G Warrant Requested                           G Regular Process                      G In Custody

Location Status:

Arrest Date

G Already in Federal Custody as of                                                   in                                      .
G Already in State Custody at                                           G Serving Sentence             G Awaiting Trial
G On Pretrial Release: Ordered by:                                                     on

Charging Document:                       G Complaint                ✔ Information
                                                                    G                               G Indictment
                                                                                                                 2
Total # of Counts:                       G Petty                    G Misdemeanor                   G Felony
                                                                                                    ✔

                                              Continue on Page 2 for Entry of U.S.C. Citations

G
✔         I hereby certify that the case numbers of any prior proceedings before a Magistrate Judge are
          accurately set forth above.

Date:     05/22/2020                              Signature of AUSA:
                       Case 1:20-cr-10098-WGY Document 1-1 Filed 05/22/20 Page 2 of 2
JS 45 (5/97) (Revised U.S.D.C. MA 12/7/05) Page 2 of 2 or Reverse


District Court Case Number (To be filled in by deputy clerk):
Name of Defendant                BRIAN GILBERT

                                                                     U.S.C. Citations
                Index Key/Code                                      Description of Offense Charged       Count Numbers
                                                     CYBERSTALKING CONSPIRACY
Set 1     18 USC 371                                                                                 1

                                                     WITNESS TAMPERING CONSPIRACY
Set 2     18 USC 371                                                                                 2


Set 3


Set 4


Set 5


Set 6


Set 7


Set 8


Set 9


Set 10


Set 11


Set 12


Set 13


Set 14


Set 15

ADDITIONAL INFORMATION:




USAMA CRIM - Criminal Case Cover Sheet.pdf 3/4/2013
